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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                             MACON DIVISION

CHRISTOPHER N. CUMMINGS,                   )
on behalf of himself and all               )   CIVIL ACTION FILE NO.
others similarly situated,                 )
       Plaintiffs,                         )
                                           )   COLLECTIVE ACTION COMPLAINT
v.                                         )
                                           )   For Violations of the Fair Labor
JORGE’S TIRE REPAIR, LLC and               )   Standards Act of 1938, As Amended
JORGE SAMUDIO.                             )
                                           )   JURY TRIAL DEMANDED
        Defendants.                        )

                                    COMPLAINT

        COMES NOW the Plaintiff, Christopher Cummings (“Cummings”), by and

     through his undersigned counsel, and files this Complaint on behalf of himself

     and all others similarly situated against the Defendants Jorge’s Tire Repair, LLC

     and Jorge Samudio. pursuant to § 216(b) of the Fair Labor Standards Act of 1938,

     as amended (hereinafter “the FLSA”), and in support thereof would state as

     follows:

                                I. INTRODUCTION

     1. The instant action arises from Defendants’ violations of Plaintiff’s rights

        under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq., as amended, to

        remedy violations of the overtime provisions of the Act by Defendants which
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   have deprived the named Plaintiff, as well as others similarly situated to the

   Plaintiff, of their lawful overtime wages.

2. Other current and former employees of Defendants are also entitled to receive

   regular and overtime compensation for the reasons alleged in this Complaint.

   The above-named Plaintiff is permitted to maintain this action “for and on

   behalf of themselves and other employees similarly situated.” 29 U.S.C. §

   216(b). Any similarly situated employee wishing to become a party plaintiff

   to this action must provide “his consent in writing to become such a party,”

   and such consent must be filed with this Court. 29 U.S.C. § 216(b). Plaintiff’s

   consent form is attached hereto as “Exhibit 1.”

3. This action is brought to recover unpaid overtime compensation owed to the

   Plaintiff and all current and former employees of Defendants who are

   similarly situated to the Plaintiff, pursuant to the FLSA. The Plaintiffs and

   the collective group similarly situated are or have been employed by

   Defendants, working as mechanics at Jorge’s Tire Repair, LLC.

4. During the applicable statute of limitations prior to the filing of this Complaint

   (three years), Defendants have committed violations of the FLSA by failing

   to compensate their mechanics for overtime rate for hours worked in excess

   of 40 hours in a given workweek by misclassifying them as salaried

   employees.


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5. Plaintiff and all similarly situated employees who elect to participate in this

   action seek unpaid overtime compensation for work performed, an equal

   amount of liquidated damages to compensate them for the delay in payment

   of money due which Defendants instead used as working capital, attorneys’

   fees, and costs pursuant to 29 U.S.C. § 216(b).

                      II. JURISDICTION AND VENUE

6. This Court has original jurisdiction over this action pursuant to 28 U.S.C. §

   1331 (federal question jurisdiction) as this action is being brought under the

   Federal Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”).

7. Venue is proper in the Middle District of Georgia under 28 U.S.C. § 1391 (b)-

   (c) because some of the acts complained of occurred within the State of

   Georgia and the jurisdiction of this Court and because Defendants maintain

   their principal places of business within this District.

                                 III. PARTIES

8. Plaintiff CHRISTOPHER CUMMINGS resides in Fort Valley, Georgia

   (within this District) and is a citizen of the United States. Cummings was

   employed by the Defendant as a mechanic. He regularly worked for

   Defendant within this District.

9. At all times material to this action, the named Plaintiff and all members of the

   collective action are and/or were “employees” of Defendant as defined by


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   § 203(e)(1) of the FLSA, and worked for Defendant within the territory of the

   United States within ten years preceding the filing of this lawsuit. These same

   individuals are further covered by § 206 and § 207 of the FLSA for the period

   in which they were employed by Defendants. Plaintiff brings this action on

   behalf of himself and other similarly situated employees pursuant to 29 U.S.C.

   § 216(b).

10. Defendant JORGE’S TIRE REPAIR, LLC is a corporation based in Warner

   Robins, Georgia which conducts business within this State and District and

   maintains its principal place of business at 1208 Watson Blvd., Warner

   Robins, GA 31093. JORGE’S TIRE REPAIR, LLC owns and operates a

   business specializing in providing tire repair and new and used tires to their

   customers.

11. JORGE’S TIRE REPAIR, LLC is subject to personal jurisdiction in the State

   of Georgia for purposes of this lawsuit and can be served through its registered

   agent, Carol Samudio, located at 1208 Watson Blvd, Warner Robins, GA

   31093.

12. Defendant JORGE SAMUDIO was and is an owner and operator of Jorge Tire

   Repair, LLC during the applicable statute of limitations. Samudio was an

   “employer” within the meaning of the FLSA, 29 U.S.C. § 203(d). Samudio

   runs the day-to-day operations of Jorge Tire Repair, LLC. Samudio makes


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   the operative decisions at Jorge Tire Repair, LLC, including its employees’

   compensation.

13. Defendants maintain either actual or constructive control, oversight and

   direction over the operation of their employees, including the practices of

   those employees.

14. At all times material to this action, Defendant Jorge Tire Repair, LLC was an

   enterprise engaged in commerce, as defined by Section 203(s)(1) of the FLSA.

   Jorge Tire Repair, LLC specializes in providing materials (tires)

   manufactured outside of the State of Georgia onto goods of their customers

   (vehicles) that were manufactured outside of the State of Georgia. Jorge Tire

   Repair, LLC utilizes bank accounts with banking entities which transact

   business outside the State of Georgia. Jorge Tire Repair, LLC utilizes tools

   manufactured outside the state of Georgia for the benefit of Jorge Tire Repair,

   LLC’s clients. Jorge Tire Repair, LLC utilizes technology, such as computers

   and telephones, which were manufactured outside the state of Georgia. Jorge

   Tire Repair, LLC utilizes a number of products in its principal office that were

   manufactured outside of the state of Georgia, such as computers and

   telephones. At all times material to this action, Jorge Tire Repair, LLC has

   had an annual gross volume of business which exceeded $500,000.00.




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15. At all times material to this action, Defendants were “employers” of the

   named Plaintiff and/or others similarly situated, as defined by § 203(d) of the

   FLSA.

16. The overtime provisions set forth in § 207 of the FLSA apply to Defendants.

                     IV. VIOLATIONS OF THE FLSA

17. Defendants employed Plaintiff other similarly situated employees as

   mechanics.

18. Plaintiff’s was scheduled to work from 8:00 a.m. to 6:00 p.m., Monday

   through Friday, and 8:00 a.m. to 4:00 p.m. on Saturdays, or 58 hours per week.

   Mr. Cummings did not receive any compensation for the 18 hours of overtime

   he worked during the following weeks within the applicable statute of

   limitations: 6/23/18, 6/30/18, 8/6/18, 8/13/18, 8/20/18, 8/27/18, 9/3/18,

   9/10/18, 9/17/18, 9/24/18, 10/1/18, 10/8/18, 10/15/18, 10/22/18, 10/29/18,

   11/5/18, 11/12/18, 11/19/18, 11/26/18, 12/3/18, 12/10/18, 12/17/18, 12/31/18,

   1/7/19, 1/14/19, 1/21/19, 1/28/19, 2/4/19, 2/11/19, 2/18/19, 2/25/19, 3/4/19,

   3/11/19, 3/18/19, 3/25/19, 4/1/19, 4/8/19, 4/15/19, 4/22/19, 4/29/19, 5/6/19,

   5/13/19, 5/20/19, 5/27/19, 6/3/19, 6/10/19, 6/17/19, 6/24/19, 7/1/19, 7/8/19,

   7/15/19, 7/22/19, 7/29/19, 8/5/19, 8/12/19, 8/19/19, 8/26/19, 9/2/19, 9/9/19,

   9/16/19, 9/23/19, 9/30/19, 10/7/19, 10/14/19, 10/21/19, 10/28/19, 11/4/19,




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          11/11/19, 11/18/19, 11/25/19, 12/2/19, 12/9/19, 12/16/19, 12/23/19, 12/30/19,

          1/6/20, 1/13/20, 1/20/20, and 1/27/20.

   19. Plaintiff Cummings seeks unpaid overtime compensation for 18 hours per

          week at his normal hourly rate of $11.60 per hour. Specifically, Plaintiff

          Cummings seeks twenty-three thousand two hundred eighty-one dollars and

          fifty cents ($23,281.50) (18[hours] X $11.00 [per hour] X 1.5 [overtime rate]

          X 83 [weeks]) in unpaid overtime compensation. Plaintiff Cummings seeks

          liquidated damages equal to that amount, for a total claim of unpaid overtime

          wages of forty-six thousand five hundred sixty-three dollars and zero cents

          ($46,563.00), plus attorney’s fees and costs.



                             VIII. PRAYER FOR RELIEF

          WHEREFORE, the named Plaintiff, individually and on behalf of all other

similarly situated persons, pursuant to § 216(b) of the FLSA, pray for the following

relief:

          A. That, at the earliest possible time, they be allowed to give notice of this

              action, or that the Court issue such Notice, to all persons who are

              presently, or have at any time during the three years immediately

              preceding the filing of this suit, up through and including the date of this

              Court’s issuance of Court-supervised Notice, been employed by


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       Defendants within the United States who were deprived of overtime

       compensation. Such notice shall inform them that this civil action has

       been filed and of the nature of the action, and of their right to opt into

       this lawsuit if they were not paid by Defendants for all hours worked in

       excess of 40 hours in a workweek at any time during the preceding three

       years or if Defendants otherwise deprived them of compensation related

       to expenses incurred on Defendant’s behalf or for all hours worked at the

       regular rate of pay.

B.     That Plaintiff be awarded damages in the amount of his unpaid

       compensation, plus an equal amount of liquidated damages to

       compensate Plaintiff for the delay in payment of regular and overtime

       compensation due which the Defendant unlawfully used instead as

       personal capital or working capital of the business.

C.     That Plaintiff be awarded prejudgment interest;

D. That Plaintiff be awarded reasonable attorneys’ fees;

E.     That Plaintiff be awarded the costs and expenses of this action; and




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      F.     That Plaintiff be awarded such other, further legal and equitable relief,

             including but not limited to, any injunctive and/or declaratory relief to

             which he may be entitled.1



      Respectfully submitted this 25th day of June, 2021.


                           /s/ Tyler B. Kaspers
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                           Counsel for Plaintiff




1
 A Civil Action Cover Sheet is attached hereto as “Exhibit 2,” and a Summons for
each defendant is attached as “Exhibit 3,” and “Exhibit 4.”
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